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8                IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )            CR No. S 09-258 GEB
                                  )            CR No. S 09-259 GEB
12             Plaintiff,         )
                                  )
13        v.                      )
                                  )
14   MUZDHA KHALIL,               )
     AMANULLAH KHALIL,            )            STIPULATION AND [PROPOSED] ORDER
15   HIDAYATULLAH ALI KHALIL, and )
     WAHIDULLAH KHALIL,           )
16                                )
               Defendants.        )
17   ____________________________ )
18
19        IT IS HEREBY stipulated between the United States of America
20   through its undersigned counsel, Carolyn K. Delaney, Assistant
21   United States Attorney, together with the defendants and their
22   counsel, that the status conference currently scheduled for
23   Friday, February 11, 2011, should be vacated; and a further
24   status conference should be scheduled for Friday, February 25,
25   2011.
26        It is further stipulated and agreed between the parties that
27   the time under the Speedy Trial Act should be excluded from
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1    today’s date to February 25, 2011, under Local Code T4, Title 18,
2    United States Code, Section 3161 (h)(8)(B)(iv), for continuity of
3    counsel and defense preparation.           The Court specifically finds
4    that a continuance is necessary to give the defendants reasonable
5    time to prepare for trial in this matter.           The Court finds that
6    the ends of justice served by granting a continuance outweigh the
7    best interest of the public and defendants in a speedy trial.
8
     Dated: February 10, 2011                    Respectfully submitted,
9
                                                 BENJAMIN B. WAGNER
10                                               U.S. Attorney
11                                               /s/ Carolyn K. Delaney
12                                               CAROLYN K. DELANEY
                                                 Assistant U.S. Attorney
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14   Dated:    February 10, 2011                 /s/ Tom Johnson
15                                               Tom Johnson
                                                 Attorney for
16                                               HIDAYATULLAH ALI KHALIL
17   Dated:    February 10, 2011                 /s/ Candace Fry
18                                               Candace Fry
                                                 Attorney for
19                                               WAHIDULLAH KHALIL
20   Dated:    February 10, 2011                 /s/ Caro Marks
21                                               Caro Marks
                                                 Attorney for
22                                               MUZDHA KHALIL
23
24   Dated:    February 10, 2011                 /s/ Chris Haydn-Myer
25                                               Chris Haydn-Myer
                                                 Attorney for
26                                               AMANULLAH KHALIL
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4                                        ORDER
5    IT IS HEREBY ORDERED:         That the status conference set for
6    February 11, 2011 is VACATED; and a further status conference for
7    February 25, 2011 is scheduled. It is further ORDERED that the
8    time under the Speedy Trial Act between today’s date and February
9    25, 2011, is excluded under Local Code T4, Title 18, United
10   States Code, Section 3161 (h)(8)(B)(iv), to give the defendants
11   time to adequately prepare and in the interests of justice.              The
12   Court specifically finds that the case is complex and that a
13   continuance is necessary to give the defendant reasonable time to
14   prepare for trial in this matter.          The Court finds that the ends
15   of justice served by granting a continuance outweigh the best
16   interest of the public and defendants in a speedy trial.
17   Dated:    February 10, 2011
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19                                    GARLAND E. BURRELL, JR.
20                                    United States District Judge

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